             Case 21-08046                           Doc 70-1              Filed 04/02/22 Entered 04/02/22 11:52:26                                            Desc Exhibit
DocuSignEnvelopeID: FC765ADF-AB4F-4DB0-ADBB-{;3FA535C07F1
                                                                          Loan Documents Page 1 of 8
                                                                                                                                                  IL-103-ARB             1/1/2020
            RETAIL INSTALLMENT CONTRACT AND SECURITY AGREEMENT
    SeiferNameandAddrtss
   ChicagoCar CenterInc.
   2218 S Cicero Ave
   Cicero, IL 60804
                                                                      ...Buyer(s)Name(g)and Address(eg)



                                                                      Addison, IL 60101
                                                                                                                                              Summary
                                                                                                                                              No. 117016
                                                                                                                                              Date 01102/2021




   U      Business.      or ag:icul!Ural
                 commercial           purposeConiract.

       Truth-In-Lending Disclosure

     AnnualPercentageRate                            FinanceCharge                             AmountFinanced                    Totalof Payments                 TotalSalePri,e
     Thecostof yourcrediias a yearly Thedollaramountlhecreditwill                          Theamount
                                                                                                  ofcteditprO'lided         Theamountyouwillhavepaid       Thetotalcostof yourpurchase
                                                                                                                                                                                     oo
                 rate.                        costyou.                                       lo youor onyourbehalf.           v.tiei, youhavemadeall         credtt.inclu<ing
                                                                                                                                                                            ~oordown
                                                                                                                               scheduled  payments.                  payment or
                                                                                                                                                           $     1,200.00
     _______           24.99            %     $ __       14_,8_0_7_.1_1
                                                                 --                              25,263.05                          40,070.16              $    41,270.16
                                                                                       $   --------                       $ -----'-----

                   Yourpaymentsctieduleis:
     Pa1menlSchedule.
     No.of Payments Amountof Patments                                             areDue
                                                                      Mlen Payments
          104              $      385.29                                 Bi-Weekly               beginning 01/16/2021
                           $ _______                        _            with final payment due on             12/28/2024
                           $ _______                         _

     Security.Yw aregivingusa securityinterestin thePropertyPIJr<:tlased
                                                                      andWageAssignment.
     LateCharge.tt al or anyportionof a paymentis nol paidwithin10daysof its duedate,youwillbechargeda latechargeof 5%of the paymentdueon installments
                                                                                                                                                    in excessof
     $200.00or $10.00oninstallmenls of $200.00er less.
             If youpayoffthisConlrae1early,youwillnothaveto paya penalty.
     Prepayment.
                       Youcanseethetermso! ttis Contractfo1anyadditional
     Contnct ProYision$,                                              informaiion
                                                                                abootnonpayment,
                                                                                             delaull,anyrequiredrepayment
                                                                                                                       beforethescheduled
                                                                                                                                        date,and
     prepaymentrefundsandpenallies.

     Description of Property
               I             Make                                Model                          Sfyie          I       Vehicleldentific;alion
                                                                                                                                           Number      I         Odometer
                                                                                                                                                                        Mileage
       Year
     2013                 Toyota                I            RAV4                 IXLE Sport Utility 401     Other:
                                                                                                                      2T3RFREV5DW09534 7                             131859

     D New
     ~ Used
     =i   Demo


                                                                              FOR USEDVEHICLES ONLY
     Illinoislawrequiresthat thisvehicle will be free of a defectin a powertraincomponentfor 15 daysor 500milesafterdelivery,
     whicheveris earlier,exceptwith regardto particular defects disclosedon the first page of this agreement."Powertrain
     component"meansthe engine block, head, all internal engineparts, oil pan and gaskets,water pump, intake manifold,
     transmission,and all Internaltransmissionparts,torqueconverter,driveshaft, universalJoints,rear axle and all rear axle
     Internalparts,and rearwheelbearings.You(the consumer)will haveto pay up to $100 for each of the first 2 repairsif the
     warrantyIs violated.
     ATTENTION CONSUMER: SIGN HERE ONLY IF THE SELLER HAS TOLD YOU THAT THIS VEHICLE HAS THE
     FOLLOWINGPROBLEMOR PROBLEMSAND YOU AGREETO BUYTHE VEHICLE ON THOSETERMS:
     ATENCl6N CONSUMIDOR:FIRME AOUi SOLAMENTI;:SI EL VENDEDOR LE HA DICHO QUE;EL VEHiCU,LOTIENE
     El,./LOSSIGUIENTE(S)PROBLEMA($) Y USTED ESTA DE ACUERDOEN COMPRAR EL VEHICULO SEGUN ESTOS
     TERMINOS:



     ~
     B ~
                                                                          2. ------------                                             3. ______                N_/A
                                                                                                                                                                 _____                _

                                                   01/02/2021 X                                                    01/02/2021 X                                N/A
                                                             (Date) ;;..;B-uy_e_r_S-ig_n_s
                                                                                 _________                                 (_D_at-e)
                                                                                                                                  -B-uy_e_r_S-lg_n_s---------,(-=-D-at--,-e)
        uyer       g



    Re1a,1ln$t~llmen1 Cornracl-lL Not lor use in transaction~ secured by a dwelling,                                                                                  ASSIMVLFAZIL t/1/2020
    CC020lht Reynold~ .tncl~e,noldi Comp•ny                                                                                                                                BankersSysiem,"11
    THEA! AR!. ttO WARAANfES,    EWPAESS OR NPLIEO, AS TO CONTENT OR FnNESS FOR PURPOSf OF 1"'5 ~~M.       CONSULT YOUR OWN LEGALCOOtfSEt..                                        P190 I ol 7
              Case 21-08046                                Doc 70-1                  Filed 04/02/22 Entered 04/02/22 11:52:26                                    Desc Exhibit
DocuSign Envelope ID: FC765ADF-AB4F-4D80-AOBB-63FA535C07F1
                                                                                    Loan Documents Page 2 of 8                                                             117016

     Descriptionof Trade-In                                                                                      Itemizationof AmountFinanced

    N/A                                                                                                     a Priceof Vehicle,etc.(incl.saleslax of
                                                                                                              $1,728.40                                          $       19,627.40
    N/A
                                                                                                            b ServiceContrac1,
                                                                                                                            paidto:
        SalesAgreement                                                                                            UR BossLLC                                     $        2,080.00
                                                                                                            c. Cash Price(atb)                                   $       21,707.40
    Pa1ment.You
              _promise
                     to payus theprincipalamountof
                                                                                                            d. Trade-inallowance                                 $            0.00
    $ l5,263.U5                     plusfinancechargesaccruingon theunpaid
    balanceal lherateof                        24 -99        % peryearfromthedateol lhisContract            e. Less:Amountowing,paidto (includesm):
                                                                                                                  N/A                                                           0.00
    untilmaturity.
                Aftermaturity,                                  wewill charge
                            or afteryoudefaultandwe demandpayment,                                                                                               $
    financechargeson theunpaidbalanceat                                  24.99       % peryear.Youagreeto         Nettrade-in(d--e;if negative,
                                                                                                                                              enter$0 hereandenter
                                                                                                                  theamounton linem)                             $            0.00
    paythisContrac1
                  according
                          to thepaymentschedule
                                              andlatechargeprovisions
                                                                    shownin
                                                                                                            g Cashpayment                                        $        1,200.00
    the Truth-In-Lending
                     Disclosure.
                              Youalsoagree1opayanyadditional
                                                          amountsaccording
                                                                         to
                                                                                                            h. Manufacturer's
                                                                                                                          rebate                                 $
                                                                                                                                                                              0.00
    thetermsandconditions
                        of thisContract
                                                                                                               Deferred
                                                                                                                      downpayment                                $            0.00
                                                                                                            j.    Otherdownpayment{describe)
    DownPayment.Youalsoagreeto payor applyto theCashPrice,onor beforelhe dateor                                   N/A                                                         0.00
    thisContract,                                       in theItemization
               anycash,rebateandnettrade-invaluedescribed               of                                                                                     $
    AmountFinanced.                                                                                         k. DownPayment(f+g+h+i+j)                          $
                                                                                                                                                                          1,200.00
                                                                                                                Unpaidbalanceof CashPrice(c-k)                           20,507.40
    D     Youagreeto makedeferreddownpayments
                                            asset forthin yourPaymentSchedule                                                                                  $
                                                                                                            m. Financedtrade-inbalance(seeline0                $              0.00
    D     Additional
                  Charge.
                       Youagreeto payanadditionalchargeof                                                   n Paidto publicofficials,including
                                                                                                                                             filingfees        $              0.00
          $ 0, 00                     Iha!will be O paidin cash.                                            0. Insurancepremiums  paidto insurance  company(ies)$             0.00
          0   financedoverthetermof theContract.                                                            p. OptionalERTFeePaidto N/A                        $              0.00
                                                                                                            q. To Documenta~ Fee                               $            294.65
             FEE. ~ Youagreeto paya documentary
    DOCUMENTARY                              feeof                                                          r. To: GAP                                         $              0.00
    $   294.65                                                                                              s To: Title and License Fees                                    301.00
                                                                                                                                                               $
    DOCUMENTARYFEE.A DOCUMENTARY FEEIS NOTANOFFICIALFEE.A                                                                                                                     0.00
    DOCUMENTARYFEEISNOTREQUIRED  BYLAW,BUTMAYBECHARGED    TOBUYERS                                              To: Misc Other Charges                         $
    FORHANDLINGDOCUMENTS ANDPERFORMING  SERVICES
                                               RELATED  TOCLOSINGOFA                                        u. To: Umbrella Waiver                             $          4,160.00
    SALE.THEBASEDOCUMENTARY FEEBEGINNING JANUARY1,2020,WAS$300.                                             v. To: Smog Fee                                    $              0,00
                                                                                                            w. To: N/A
    THEMAXIMUMAMOUNT  THATMAYBECHARGED  FORADOCUMENTARY   FEEISTHE                                                                                                            0,00
    BASEDOCUMENTARY FEEOF$300.WHICHSHALLBESUBJECT  TOANANNUAL                                                                                                  $
    RATEADJUSTMENTEQUAL TOTHEPERCENTAGE  OFCHANGE INTHEBUREAU  OF                                               To: N/A                                        $              0.00
    LABORSTATISTICS
                 CONSUMER  PRICEINDEX.THISNOTICE
                                               IS REQUIRED BYLAW                                            '
                                                                                                            y   To: N/A                                        $              0.00
                                                                                                            z TotalOtherCharges/Amis           Paid(m thruy) $            4,755.65
        ConditionalDelivery                                                                                 aa. PrepaidFinanceCharge                           $              0.00
                                                                                                            bb. AmountFinanced(l+z-aa)                                   25,263.05
    0     ConditionalDelivery.II checked,
                                        youagreethatthefollowinfiagreement
                                                                        regarding                                                                              $
    securingfinanciN)"Agreemenl")
                              applies:               NA                                                     Wemayretainor receivea portionor anyamountspaidto others.
    ______          A_____        TheAgreement
                                            is partof thisContract.
                                                                 The
    Agreement
           willnolongercontrolafter1heassignment
                                              is accepted,If thereareany
    conflictsbetweenthe1ermsof theAgreement
                                          andtheContract,
                                                       thetermsof thisContract
    willapply.




                                                                                                                                     [Thisareainlenlionally
                                                                                                                                                          /effblank.}
                                       [Thisareaintentionally
                                                           teffblank.]




    Ae1ail Installment   Contract-IL    Not for use   in transactions   secured   bya d~llmg.
    C2020Th~ Reynold~ ~nd Reyn~lds Compani
    THERE ARE NO WARRANTIES, EXPRESS OR IMPLIEO, AS TO CONTENT OR FlffiESS FOR PURPOSE OF THIS FORM. CONSULT YOUR OWN LEGAL COUNSEL.
            Case 21-08046                         Doc 70-1               Filed 04/02/22 Entered 04/02/22 11:52:26                                            Desc Exhibit
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                                                                        Loan Documents Page 3 of 8                                                                               117016
     InsuranceDisclosures                                                                              AdditionalProtections
    CreditInsurance.Creditlifeandcreditdisability(accidentandhealth)are notrequiredlo                 You may buy any of the following voluntary protectionplans.They are not required
    obtaincreditandarenol a factorin lhe creditdecision.Wewill not providethemunlessyou               to obtain credit, are not a factor in the credit decision,and are not a factor in the
    signandagreeto paytheadditional   premium.If youwantsuchinsurance,    wewillobtainii              termsof the creditor the relatedsaleof the Vehicle.Thevoluntaryprotectionswill
    for you(if youqualifyfor coverage).
                                      WearequoLing   belowonly lhecoveragesyou have                   not be providedunlessyou sign andagreeto pay the additionalcost.
    chosento purchase
                                                                                                      Yoursignaturebelowmeansthatyouwantthedescribed   itemandlhal youhavereceived
    CreditLife                                                                                        andreviewed                       fortheproducl(s).If nocoverage
                                                                                                                  a copyof thecontract(s)                            or chargeis given
    D Single D Joint ~ None                                                                           foran item,youhavedeciinedanysuchcoverage  we offered.
    Premium$_0_.0_0
                _________          Term  __ M_o_n_t_h_s
                                      __ O       __ _
    Insured_N_i_A
             _____________________                     _                                              ~     ServiceContract
                                                                                                      Term                              Months or         Miles
    Credit Disability                                                                                 Price                        $ 2,080.00
    D     Single   D     Joint    Kl   None                                                           Coverage                     See Terms on Separate Agreement
    Premium$_o_.0_0
                _________            __ 0__ M_o_n_t_h_s
                                  Term           __ _
    Insured_N_/_A
              ___________________                     _                                               D     GapWaiveror GapCoverag_e
                                                                                                      Term                         _4_B
                                                                                                                                     __ M_o_n_t_h_s
                                                                                                                                                _________          _
    Yoursignaturebelowmeansyouwant(only)theinsurance  coverage(s)
                                                               quotedabove.If                         Pnce                         $_0_.0_0
                                                                                                                                        _______         _
    'None"is checked,youhavedeclinedthe coveragewe offered.
                                                                                                      coverage                     See Terms on Separate Agreement
    GDoc,Sigaod         by:




        ~
                                                                                                      I~                      Umbrella Waiver
                                                                                                                                 48 Months
                                                                                      01102/2021      Term
    By:LISA M SIMONS                                                                   Date           Price                     $4,160.00
                                                                                                      Coverage                    See Terms on Separate Agreement


                                                                                      01ffi2/2021
    By:                                                                                Date                                                                                 01/02/2021
                                                                                                                           ONS                                                Date

                                                  N/A
    By:                                                                                Date
                                                                                                                                                                            01/02/2021
                                                                                                      By:                                                                     Date
    PropertyInsurance,                     Youmaypurchase-
                    YoumustinsuretheProperty,           or providethe
    insurancethroughany insurancecompanyreasonablyacc.eptable
                                                            to us. Thecollision
    coveragededucti~emaynotexceed$               NA                                     . If yougel
    insurance
            fromor throughusyouwillpay$             N/A                                        ror
                                                                                                                                              N/A
                                                                                                      By:                                                                     Date
                   N/A                 of coverage.
    Thispremiumis calcula!ed
                           as follows:
    D     $     N/A                 CollisionCov. $ -----..Nci/A.'-----
                          DeducLible,                                                                  Additional Terms of the Sales Agreement
    D     $     N/A       DeducLible,
                                    Comprehensive $ --~N"/A~----                                      Definitions."Contract" refersto thisRetailInstallment
                                                                                                                                                         ContractandSecurity Agreement.
    D     Fire-Theft
                  andCombined
                            Additional
                                    Cov.          $ --~N./~A ____
                                                          _                                           Thepronouns"you'and"your"referto eachBuyersigningthisContract.     andany
                                                                                                      guarantors,joinUyandindividually. Thepronouns'we', 'us' and"our"referto theSeller
    □  N/A                              I ------- N/A                                                 andanyen1ity  to whichit maytransferlhisContract."Vehicle"meanseachmotorvehicle
    Liabilityinsurance
                     coverage
                            for bodilyinjuryandproperty                                               describedin 1heDescription of Properlysection."Property'
                                                                                                                                                             meanstheVehicleandall other
                                                                                                      propertydescribed in theDescription of PropertyandAdditional
                                                                                                                                                                 Protec/ionssections.
    damagecausedto othersis notincludedIn thisContractunless
    checkedandindicated.                                                                              Purchaseof Property.Youagreeto purchase         fromSeller,subjectto lhe
                                                                                                                                            theProperty
                                                                                                      termsandconditions
                                                                                                                       of thisContract.
                                                                                                      Youhave'beengivenlheopportunityto purchasetheProperty anddescribed  servicesfor
                                                                                                      theCashPriceor theTotalSalePrice.The "Tola/SalePrice'is thetotalpriceof the
                                                                                                      Propertyif youbuyii over~me.
                                                                                                      GeneralTenns.TheTotalSalePriceshownin the Tr(lfh-/n-Lending       assumes
                                                                                                                                                               Disclosure
                                                                                                      thatall payments
                                                                                                                     willbe madeasscheduled.
                                                                                                                                          Theactualamountyouwillpaywillbemoreif
                                                                                                      yoopayla1eandlessif youpayearly.
                                                                                                      Wedonotintendto chargeor collect,andyoudo notagreeto pay,anyfinancechargeor
                                 {Thisareaintentionally
                                                     leffblank,]                                      feethatis morethanthemaximum   amountpermittedforthissalebystateor federallaw.
                                                                                                      If youpaya financechargeor feethatexceedsthatmaximum  amount,wewillfirstapply
                                                                                                      theexcessamountto reducetheprincipalbalanceand,whentheprincipalhasbeenpaidin
                                                                                                      full,refundanyremaining
                                                                                                                            amountto you.
                                                                                                      Youunderstand
                                                                                                                  andagreethatsomepayments  to thirdpartiesasa partof thisContract
                                                                                                      mayinvolvemoneyretainedbyusor paidbacklo usascommissions  or otherremuneration.
                                                                                                      YouagreethattheProperty
                                                                                                                            willnotbeusedas a dwelling



    Rela1I Installment Conlracl-lL Nol lor use 1ntransac1ions secured by a dwelling                                                                         DS         RSSIMVLFAZIL 111/2020
    Q,;)'2020Th~
               Reynolds ~nd RPynolds Company                                                                                                                               Bankers Systems®
    THERE ARE NO WARRANTIES, EXPRESS OR IMPLIED, AS TO CONTENT OR FITNESS FOR PURPOSE OF THIS FORM. CONSULT YOUR OWN LEGAL COUNSEL.                                                  P~y~$oj7
             Case 21-08046                          Doc 70-1                Filed 04/02/22 Entered 04/02/22 11:52:26                                  Desc Exhibit
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                                                                           Loan Documents Page 4 of 8
                                                                                                                                                                     117016
    Prepayment. YoumayprepaythisConlractin lull or in partat anytimewithoutpenalty              Youagreethatwemaytakepossession  of personalproperty
                                                                                                                                                   lefiin or ontheProperty
    Anypartialprepayment
                       willnotexcuseanylaterscheduled    payments. If wegeta refundof           securingthisContract
                                                                                                                   andtakenintopossession
                                                                                                                                        asprovided above.Youmayhavea rightlo
    ~nyunearned insurance
                        premiums thatyoupaid,youagreethatwe maysubtracttherefund                recoverthatproperty.
    fromtheamountyouowe,unlessotherwise providedbylaw.
                                                                                                If thePropertyhasanelectronic
                                                                                                                            !rackingdevice,youagreethatwe mayusethedevicelo
    ReturnedPaymentCharge,If youmakeanypaymentrequiredbythisContractthatis                      findtheVehicle
    returned
           or dishonored,
                       youagreeto paya feeof $25.00.
                                                                                                ObligationsIndependent.  EachpersonwhosignsthisContract
                                                                                                                                                      agreesto paythis
    GoverningLawand Interpretation.ThisContractis governedby the law al Illinoisand             Contractaccording
                                                                                                                to its terms.Thismeansthefollowing:
    applicable
            federallawandregulations.
                                                                                                  ♦   YoumustpaythisContract
                                                                                                                           evenif someoneelsehasalsosignedit
    If anysectionor provisionof thisContractis notenforceable,
                                                             theothertermswillremain
                                                                                                  ♦   Wemayreleaseanyco-buyeror guarantor
                                                                                                                                        andyouwills1illbeobligated
                                                                                                                                                                 to paythis
    partof thisContract.Youauthorize usto correctanyclericalerroror omissions
                                                                            in this
    Contract or in anyrelateddocument.                                                                Contract.
                                                                                                  ♦   Wemayreleaseanysecurityandyouwillstillbeobligated      to paythisCon1ract.
    NameandLocation.Yournameandaddresssetforthin thisContractareyourexactlegal
    nameandyourprincipalresidence.
                                Youwillprovideuswithat least30daysnoticebefore                    ♦   If we giveupanyof ourrights,it willnotaffeclyourdutylo paythisContract.
    youchangeyournameor principalresidence.                                                       ♦   If we extendnewcreditor renewthisContract,it willnotaffectyourdutyto pay
    TelephoneMonitoringandCalling,Youagreethatwe mayfromlimeto timemonitor                            thisConlract
    andrecordtelephone   callsmadeor receivedbyus or ouragentsregarding    youraccountto WARRANTIES     SELLERDISCLAIMS
    assurethequalityof ourservice.Inorderfor usto servicetheaccountor to collectany
    amountsyoumay<J'Ne,   andsubject1oapplicable  law,youagreethatwe mayfromlimeto       If the vehicle you purchasedis a new vehicle, unless the Seller makesa written
    timemakecallsandsendtextmessages                                      voicemessages warranty,or entersinto a servicecontractwithin 90daysfromthedateof this contract,
                                           to youusingprerecorded/artificial
    or throughtheuseof an automatic  dialingdeviceal anytelephone  numberyouprovideto    the Sellermakesno warranties,expressor implied,on the vehicle,andthere willbe
    usin connection withyouraccount.including  a mobiletelephone numberthatcouldresult   no impliedwarrantiesof merchantabilityor fitnessfor a particularpurpose.
    in chargeslo you.                                                                    If the vehicleyou purchasedis a used vehicle, unless the Seller makesa written
    Default.Youwillbe indefaulton thisContractif thefollowingoccurs(exceptas prohibi1ed warranty,or entersinto a servicecontractwithin 90daysfromthedateof this contract,
    bylaw)                                                                               the Sellermakesno expresswarrantieson the vehicle,and therewill be no implied
                                                                                         warrantiesof fitness for a particularpurpose.The vehicleis subjectto an implied
        ♦ Youfailto perform anyobligation thatyouhaveundertaken   in thisContract        warrantyof merchantabilily, but only to the extentrequiredby Illinois law.TheImplied
                                                                                         warrantyof merchantabilityexpiresat midnightof the 15"'calendarday afterdelivery
    If youdefaul!,youagreeto payourleesfor repossession,   repair,storageandsaleof the   of thevehicleor until thevehicleis driven500milesafterdelivery,whicheveris earlier.
    Property securingthisContract.
                                 Youalsoagree1opayreasonable       attorneys'
                                                                            feesincurred This impliedwarrantyof merchantabilitydoesnot extendto damagethat occursafter
    in thecollection
                   or enforcementof theContractIf a judgmentis enteredagainslyou,you     the salethatresultsfrom: (11off-roaduse;(2)racing;(3)towing;(4)abuse;(5)misuse;
    willpayanycourtcoststhecourtawardsus.                                                (6) neglect;(7) failure to perlonn regular maintenance;and (8) failure to maintain
    If aneventof defaultoccursasto anyof you,wemayexerciseourremedies       againstanyor adequateoil, coolant,andother requiredfluids or lubricants.
    all of you.                                                                          The aboveprovisionsdo not affectany warrantiescoveringthe vehiclethat the vehide
    Rightto Reinstate.If youhavepaidan amountequalto 30%or moreof theTotalof             manufacturer mayprovide.
    Paymenls   or TotalSalePriceat thetimeof repossession,youmay,wi!hin21days,                  Used Car Buyers Guide
    reinstatelhisConlrac!andredeem(getback)theProperty     fromus bytendering   in a lump
    sum(a)thetotalol all unpaidamoun1s,    including
                                                   anyunpaiddelinquency   or deferralcharges    If you are buying a used vehicle: The information you see on the
    dueatthelimeof reinstatemenl,   withoutacceleration;
                                                       (b)performance  necessary  to cure       window form for this vehicle is part of this contract. Information
    anydefaultolherthannonpayment     or lheamounts  due;and(c)all reasonable costsand          on the window form overrides any contrary provisions in the
    feesincurred  byusin relaking,holding,andpreparing theProperty  fordispositionandin         contract of sale.
    arranging forthesaleof theProperty, Tenderof paymen1  andperformance   pursuant  to this    Si compra un vehiculo usado: La informaci6n que ve adherida en la
    limitedrightofreinstatemen1restores to youyourrigh1sunderthisCon1racl  asthoughno           ventanilla forma parte de este contrato. La informaci6n contenida
    defaulthadoccurred.  However, youhavetherighllo reinstatelhisContract  andrecover           en el formulario de la ventanilla prevalece por sobre toda otra
    theProperty  fromusonlyonceonlhisContract.                                                  disposici6n en contrario incluida en el contrato de compraventa.
    Remedies.If youarein defaulton thisContract,we haveall of theremedies
                                                                        provided
                                                                               by
    lawandthisContract,subjectlo anyrightto reinstatethatyoumayexerciseas described              Security Agreement
    in theRighitoReinsrate
                         section.Thoseremedies   indude:
                                                                                                Security.Tosecureyourpayment   andperformance   underthetermsofthisContract,
                                                                                                                                                                           you
      ♦ Wemayrequireyouto immediately    payus,subjectto anyrefundrequiredbylaw,the             giveusa securityinterestin theVehicle,all accessions,
                                                                                                                                                   attachmen1s,
                                                                                                                                                              accessories,
                                                                                                                                                                         and
        remainingunpaidbalanceof theamountfinanced,     financechargesandall other              equipment placedin or ontheVehicleandin all olherProperty.
                                                                                                                                                         Youalsoassignto usand
        agreedcharges                                                                           giveusa securityinterestin proceeds
                                                                                                                                  andpremiumrefundsof anyinsurance  andservice
      ♦ Wemaypaytaxes,assessments,      or otherliensor makerepairsto 1heProperty if you        conlraclspurchased withthisConlracl
        havenotdoneso.Wearenotrequiredlo do so.Youwillrepayusthatamount                         DutiesTowardProperty,Bygivingusa securityinterestin 1heProperty,
                                                                                                                                                              yourepresent
        immediately.Thatamountwillearnfinancechargesfromthedalewepayi1at the                    andagreeto thefoll<J'Ning:
        post-maturityratedescribedin thePaymentsectionuntilpaidin full
      ♦ Wemayrequire    youto makethePropertyavailable    1ousat a placewe designate 1hat         ♦   Youwilldeferidourinterestsin lhe Property
                                                                                                                                              agains!claimsmadebyanyoneelse.You
        is reasonablyconvenien1to youandus.                                                           willkeepourclaimto theProperty  aheadof theclaimof anyoneelse.Youwillno!do
                                                                                                      anythingto changeourinterestin theProperty.
      ♦ Wemayimmediately    tokepossession  of lhe Propertybylegalprocessor self-help,
        butin doingsowemaynotbreachthepeaceor unlawfully       enterontoyourpremises.             ♦   YouwillkeeptheProperty  in yourpossession
                                                                                                                                              andin goodcondition
                                                                                                                                                                andrepair.You
      ♦ Wemaythensell!heProperty     andapplywhatwe receiveasprovidedbylawto our                      willusetheProperty
                                                                                                                       for its intendedandlawfulpurposes
        reasonableexpenses   and!hentowardwhatyouoweus                                            ♦   Youagreenotto removethePropertyfromlhe U.S.withoutourpriorwritten
      ♦ Except whenprohibited bylaw,wemaysueyoufor additional      amountsif the                      consent.
        proceeds of a saledonotpayall of theamountsyouoweus                                       ♦   Youwillnotattemptto selltheProperty,transferanyrigh1s
                                                                                                                                                          in theProperty,
                                                                                                                                                                       or grant
                                                                                                      anotherlienontheProperty  withoutoorpriorwrittenconsent.
    Bychoosing anyoneor moreof theseremedies,  we donotgiveupourrightto lateruse
    anotherremedy.Bydeciding   nol lo useanyremedy,
                                                 we do notgiveupourrightto consider               ♦   Youwillpayall taxesandassessments
                                                                                                                                     on 1hePropertyastheybecomedue.
    theeventa defaultif tt happens
                                 again.                                                           ♦   Youwillnotifyuswithreasonable
                                                                                                                                 promptness
                                                                                                                                         or anylossor damagelo theProperty,
    Youagreethatif anynoticeis requiredlo be givento youof anintendedsaleor transferof            ♦   Youwillprovideusreasonable
                                                                                                                              accessto theProperty
                                                                                                                                                 forthepurpose  of inspection.
    theProperty, noticeis reasonable
                                   if mailedto yourlastknownaddress,
                                                                   as reflectedin our                 OurentryandinspecUonmustbeaccomplishedlawfully,andwithoutbreachingthe
    records,at least10daysbeforethedateof theintendedsaleor transfer(orsuchother                      peace
    periodof Umeasis required  bylaw).

                                                                                                                                                 OS
    Retail lnslallmtinl Conlracl-lL Nol !or use 1ntransactions secured by a dl'•elling                                                                         RSSIMVLFAZIL 1/112020
    C2020TM~ RP.jnolds and R,ynnld~ Compani                                                                                                                        Bankers Systems®
    THERE ARE NO WARRANTIES, EXPRESS OR IMPLIED, AS TO CONTENT OR FITNESS FOR PURPOSE OF THIS FORM. CONSULT YOUR OWN LEGAL COUNSEL.                                         Pagr, 4 ol 7
             Case 21-08046                          Doc 70-1               Filed 04/02/22 Entered 04/02/22 11:52:26                                       Desc Exhibit
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                                                                          Loan Documents Page 5 of 8                                                                          117016
    Agreementto ProvideInsurance.Youagreeto providepropertyinsurance        on the          Thearbitration  hearing willbeconducted   in lhefederaldislric1 whereyouresideunlessyou
    Property  protecting
                       againsllossandphysicaldamage    andsubjectto a maximum    deductible andweotherwise     agree.Or,ii youandwe agree,thearbitration       hearingcanbeby
    amountindicated  in lheInsuranceDisclosures  section.or aswe willotherwiserequire.You   telephone or otherelectronic  communication.   Thearbitration filingfee,arbitrator's
    willnameusaslosspayeeonanysuchpolicyGenerally,          thelosspayeeis lheoneto be      compensation   andolherarbitration   costswillbepaidin lheamounts      andbytheparties
    paidthepolicybenefitsin caseof lossor damagelo 1heProperty.    Intheeventof lossor      ao:::ording
                                                                                                      lo therulesof thechosenarbitration    organizaUon   Somearbitraijon  organizations'
    damage   to theProperty,wemayrequireadditional  securityor assurances oi payment        rulesrequireusto paymostor all of theseamounts.      If therulesof thearbitralion
    beforeweallowinsurance   proceedsto beusedto repairor replacetheProperty.    Youagree   organizafon  donotspecifyhowfeesmustbeallocated,         wewillpaythefilingfee,
    thatif theinsurance proceedsdonotcovertheamounts      youstilloweus,youwillpaythe       arbitrato~scompensation,   andotherarbitration  costsupto $5,000,unlessthelawrequires
    difference.Youwillkeeptheinsurance in lull forceandeffectuntilthisCon1ract is paidin    usto paymore.Eachpartyis responsible       fortheleesof its ownattorneys,   witnesses,  and
    full                                                                                    anyrelatedcosts,if any,thatit incursto prepareandpresentits Claimor response.        In
                                                                                            limitedcircumstances,  thearbitrator  mayhavelheau1hority    to awardpayment   of certain
    Unlessyouprovideuswilhevidence      of theinsurance  coverage requiredbyyouragreement arbitration costsor feesto a party,bul onlyif thelawandarbitration      organizationrules
    withus,wemaypurchase       insuranceat yourexpenseto protectourinterestsin your         allowit.
    collo1eral.Thisinsurance  may,butneednot,protectyourinterests.   Thecoverage  thatwe
    purchase   mayno!payanyclaimthatyoumakeor anyclaimthatis madeagainstyouin               Anarbitrator mustbea lawyerwithat leas!ten(10)yearsof experience          andiamiliarwith
    connection  wi1hthecollateral. Youmaylatercancelanyinsurance    purchased by us,but     consumer  creditlawor a retiredstateor federalcourtjudge.Thearbitration     willbe bya
    onlyafterproviding  uswithevidence  thatyouhaveobtainedinsurance    asrequiredbyour     singlearbitrator.In makinganaward,anarbitra1or     shallfollowgoverning   substanUve  law
    agreement.   If wepurchase  insurancefor thecollateral,
                                                          youwillberesponsible for thecosts andanyapplicable    statuteoi limilaijons,
                                                                                                                                     Thearbitrator  willdecideanydisputeregarding
    of thatinsurance, including interes1
                                       andanyotherchargeswe mayimposein connection          thearbilrabilityof a Claim.Anarbitrator haslheauthority   lo orderspecific performance,
    withlheplacement    of theinsurance,untiltheeffectivedaleof thecancellationor           compensatory   damages,  puni1ive damages,   andanyotherreliefallowedbyapplicable       law.
    expiration of theinsurance. Thecostsof theinsurance   maybeaddedto yourtotal            Anarbitrator's authorityto makeawardsis limi1ed   to awardsto youor usalone.Claims
    outstanding  balanceor obligationThecostsof theinsurance   maybemorethanthecostoi       broughtbyyouagainstus,or byusagainstyou,maynotbejoinedorconsolidated                in
    insurance  youmaybe ableto obtainon yourown.                                            arbitratioo
                                                                                                      withdaimsbroughtbyor againstsomeone          otherthanyou.unlessagreed!o in
                                                                                            writingbyall parties.Noarbitration   awardor decisionwillhaveanypreclusive     effectasto
    GapWaiveror GapCoverage.In 1heeventof theftor damage1otheVehiclethatresults             issuesor claimsin anydisputewithanyonewhois nota namedpartyto thearbitration.
    in a totalloss,theremaybea gapbetween      1heamountdueunderthetermsof theConlracl
                                                                                            Anyarbitration awardshallbein writing,shallincludea writtenreasoned       opinion,andwill
    and!heproceeds    of yourinsurance settlementanddeductibles. Youareliablefor lhis
                                                                                            be finalandbindingsubjectonlyto anyrightto appealundertheFederal          ArbitrationAct
    difference. Youhave1heoptionof purchasing   GapWaiveror GapCoverage     to coverthegap
                                                                                            {"FAA'),9 U.S.CodeSections1,el seq.Anycourthavingjurisdiction           canenforcea final
    liability,
            subjectto anyconditions  andexclusions in theGapWaiveror GapCoverage
                                                                                                      award.YouandweagreethatthisArbitration
                                                                                            arbitration                                              Provision  is governedbytheFAA
    agreements.                                                                             to theexdusionof anydifferent    or inconsistentstaleor locallaw.
     Arbitration Provision                                                                         Youor wecandothefollowing   withoutgivinguptherightto requirearbitration:
                                                                                                                                                                           seek
                                                                                                   remediesin smallclaimscourtforClaimswithinthesmallclaimscourt'sjurisdiction,
                                                                                                                                                                              or
    PLEASEREADCAREFULLY!        By agreeingto this Arbitration                                     seekjudicialprovisional
                                                                                                                        remedies. If a partydoesnotexercisetherightto electarbilra~on
    Provisionyou are giving up your right to go to court for claims                                in connecLionwithanypartJcular
                                                                                                                                Claim,thatpar1ystillcanrequirearbi1ration
                                                                                                                                                                        in connec1ion
    and disputesarisingfrom this Contract:                                                         withanyotherClaim.

      • EITHERYOUORWEMAYCHOOSE    TO HAVEANYDISPUTE                                                ThisArbitration
                                                                                                                 Provision   survivesany(i) termination,payoff,as.signment
                                                                                                                                                                         or transfero1this
                                                                                                   Contract,
                                                                                                           {ii)anylegalproceeding    byyouor us1ocollecta debtowedbytheother,and{iii)
        BETWEEN  YOUANDUSDECIDED BYARBITRATION,AND                                                 anybankruptcy proceeding    in whichyouor we arethedebtor.WithbutoneexcepLion,     if
        NOTBYA COURTORBYJURYTRIAL.                                                                 anypartof thisArbitration  Provisionis deemedor foundlo beunenforceable   foranyreason,
                                                                                                   theremainder of thisArbitraijon Provision willremaininfullforceandeffect.Theone
      • YOUGIVEUPANYRIGHTTHATYOUMAYHAVETO                                                          excepUon is 1hatif a findingof partialunenrorceability
                                                                                                                                                        wouldallowarbitrationto proceed
        PARTICIPATEASA CLASSREPRESENTATIVEORCLASS                                                  ona class-widebasis,thenthisArbitration    Provision
                                                                                                                                                      willbe unenforceablein its enUrety
        MEMBER  INANYCLASSACTIONOR CLASSARBITRATION                                                PROCESS    TOREJECT     THISARBITRATION      PROVISION.    Youmayreconsider  andrejec1
        AGAINSTUSIFA DISPUTEISARBITRATED.                                                          yourapproval  of lhisArbitration
                                                                                                                                  Provision bysendinga writtennoticeto lheAssignee
      • INARBITRATION,DISCOVERY
                              ANDRIGHTSTOAPPEAL                                                    (identified
                                                                                                             in lheAssignment  section)
                                                                                                                                      or if thereis noAssignee, thento Seller.Thenotice
                                                                                                   mus!bepostmarked     within30daysof thedateyousignedthisContractIt simplyneedslo
        AREGENERALLY  MORELIMITEDTHANINA JUDICIAL                                                  s1aleyourdecisionlo rejecllheArbi1ration  Provisionin lhisConlrac1
                                                                                                                                                                    andincludeyour
        PROCEEDING, ANDOTHERRIGHTSTHATYOUWOULD                                                     signalure.It mustalsoprovideyourname,Sellersnameandthedateof thisContract
        HAVEIN COURTMAYNOTBEAVAILABLE.                                                             Rejectingthis ArbitrationProvisionwillNOTaffectthetermsunderwhichwewill
                                                                                                   financeandsell the Propertyto you or any othertermsof this Contract,except
    Youorwe (including   anyassignee)  mayelec11o   resolveanyClaimbyneutral,binding               thattheArbitrationProvisionwillnot apply,
    arbitraUon andnotbya courtaction."Claim"meansanydaim,disputeor controversy
    between  youandusor ouremployees,      agents,successors,  assignsor affiliatesarisingfrom     CAUTION:    It is importantthat you readthis ArbitrationProvision
    or relatinglo: 1,thecreditapplication;2. thepurchase  of theProperty;
                                                                        3. thecondition  of
    theProperty;  4. thisContract;5. anyinsurance, maintenance, serviceor othercontracts
                                                                                                   thoroughlybeforeyou sign this Contract.By signingthis
    youpurchased    in connectionwiththisContract; or 6. anyrelatedtransaction, occurrence  or     Contract,you acknowledgethat you read,understandandagree
    relationship.Thisincludes anyClaimbasedon commonor constitutional     law,contract.tort.       to this ArbitrationProvision.If you do not understandthis
    statute,regulation or otherground.Totheextentallowedbylaw,thevalidity,scope,ind                ArbitrationProvision,do not sign this Contract;insteadask your
    interpretationof thisArbitration
                                   Provision areto bedecidedby neutral,bindingarbilralion
                                                                                                   lawyer.If you approvethis ArbitrationProvision,you havean
    If eitherpartyelectsto resolvea Claimthrougharbitration,
                                                          youandweagreethatnotrial                 additional30daysaftersigningto reconsiderandrejectyour
    byjuryor otherjudicialproceeding  wmtakeplace.Instead,theClaimwillbearbitra!ed
                                                                                 on
    anindividual basisandnoton a classor representative basis.                                     approval,as describedabove.If you usethat processto reject,
                                                                                                   this ArbitrationProvisionwill not be a part of this Contract,but
    Thepartyelectingarbitration   maychooseeitherof lhe followingarbitrafonorganizations
    andits applicable  rules,provided it is willingandablelo handlethearbitration:American         the rest of this Contractwill still be bindingandeffective.
    Arbitration Association IW>MN adrorglor JAMS(IJNIW-iamsadr   com),or theymaychooseany
    otherreputable   arbitrationorganization andits rulesto conductthearbitration,subjectto !he
    otherparty'sapproval.   Thepartiescangeta copyof theorganization's     rulesbycontacting  it
    or visitingits website.If thechosenarbitration  organization's
                                                                rulesconflictwiththis
    Arbitration Provision,thetermsof thisArbitration  ProvisionwillgoverntheClaim.However,
    to addressa conflictwiththeselectedarbitrafonorganization's     rules,thepartiesmayagree                                [Thisareainfentiona/ly
                                                                                                                                                lefi blank.]
    to changethetermsof thisArbitration     Provisionbywrittenamendment    signedbytheparties.
    If thepar!Jes  arenotabletofindor agreeuponan arbitration    organization thatis willingand
    ableto handlethearbitration,   thenthearbitrator  willbeselectedpursuantto 9 U.S.Code
    Sections  5 and6.


    Retail lnslallment Conlracl-lL Nol lor use tn transacl1ons secured by a dwelling,
    02020The R~inold~ and R~ynold~ Company
    THERE ARE NO WARRANTIES, EXPRESS OR IMPLIED, AS TO CONTENT OR FITNESS FOR PURPOSE OF THIS FORM. CONSULT YOUR OWN LEGAL COUNSEL.
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                                                                       Loan Documents Page 6 of 8                                                                           117016



                                                                                                    ~O
     Notices
    Note.If the primaryuseof the Vehicleis non-consumer,


    OFTHISCONSUMER CREDITCONTRACT
                                IS SUBJECT
                                         TOALL
                                                      this is not a consumer
    contract,andthe followingnoticedoes not apply.NOTICE.
                                                        ANYHOLDER                                    ~~Bl
                                                                                                       CllABllllY
                                                                                                        ~~~cD Wll~
    CLAIMSANDDEFENSESWHICHTHEDEBTOR COULDASSERT
    AGAINSTTHESELLEROF GOODSORSERVICES
    PURSUANT
    RECOVERY
             HERETOORWITHTHEPROCEEDS
             HEREUNDERBYTHEDEBTOR
                                      OBTAINED
                                     HEREOF.
                                 SHALLNOTEXCEED
                                                                                                    IN~~RA~Cc    l~I~
                                                                                                          ~~lt~~
    AMOUNTS PAIDBYTHEDEBTORHEREUNDER.

    NOTICE
         OFPOSSIBLE
    DISABILITY
                   REFUND
            INSURANCE
    PURCHASEDEITHER
                          OFCREDIT
                     PREMIUM,
                  CREDIT
                                   LIFEOR
                             1.IFYOUHAVE
                        LIFEORCREDIT DISABILITY
                                                                                                    lRA~~ACl
                                                                                                        ON
    INSURANCE,
             ORBOTH,TOGUARANTEE  PAYMENTSBEING
    MADEINCASE
    VEHICLE
               OFYOUR
          PURCHASED
                     DEATH
                   UNDER
                           ORDISABILITY,
                         ANINSTALLMENT
                                       ONYOUR
                                       SALES
                                                                                                    ~MBRcllA
                                                                                                        WAIVcR
    CONTRACT,
            YOUMAYBEENTITLED TOA PARTIAL
    REFUNDOFYOUR
    INSTALLMENT
    2. INCASE
                 PREMIUM
              LOANEARLY.
             OFEARLY
                        IFYOUPAYOFFYOUR

                     COMPLETEPAYMENT OFYOUR
                                                                                                    ~~RC~A~cD
    LOAN, YOUSHOULD  CONTACTTHESELLEROFYOUR
    CREDIT LIFEORCREDIT DISABILITY
                                INSURANCETOSEEIF
    AREFUND  ISDUE.IFYOUR VEHICLEDEALER
                                      FINANCED
    YOUR  LOAN,THESELLER OFYOUR CREDIT
                                     LIFEORCREDIT
    DISABILITYINSURANCEISYOURVEHICLEDEALER.

     ThirdParty Agreement
    (ThissectionappliesONLYto a personwhowillhavean ownership
                                                            interestin theProperty
    bu1is NOTa Buyerobligatedlo pay1hisContrac:I
                                              ("ThirdPartyOwner").)
    In thissecLiononly,"younmeansonlythepersonsigningIhissection                                                              {Thisareamtentionally
                                                                                                                                                 leff blank.}
    Bysigningbelowyouagreeto giveus a securityinterestin 1hePropertydescribed
                                                                            in the
    Description
              of Properly
                        section.Youalsoagreeto thetermsof thisContract exceptthat
    youwillnotbeliableforthepayments it requires.
                                                Yourinteres1in theProperty
                                                                         maybeused
    to saUsfy
            theBuyer'sobligaUon.Youagreethatwemayrenew,extendor changethis
    Contrac1,
            or releaseanypartyor Property withoutreleasingyoufromthisContract.
                                                                             We
    maylakethesestepswithoutnoticeor demanduponyou.
    Youacknowledge
                receiptof a completed
                                    copyof thisContract.



                                                 N/A
    By:                                                                              Date
        Signature
                of ThirdPartyOwner(NOTtheBuyer)




                               {Thisareaintentionally
                                                    leff blank.}




    Rela1IInstallmentContract•IL Not tor use in transac1Ionssecured bl' a dwelling                                                                              RSS\MVLFAZJL 11112020
    IC2020Tt,e Rey11uldsaud R~1nold, C~mpany                                                                                                                        Bankers Systems®
    THERE ARE NO WARRANTIES, EXPRESS OR IMPLIED, AS TO CONTENT OR FITNESS FOR PU RPO SI': OF THIS FORM. C:ONSULT YOUR OWN LEGAL COUNSEL.                                    Pa~Rt\ol7
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                                                Loan Documents                                    Page 7 of 8                                                       117016

    Arbitration Provision and Process to Remove                                                NOTICE  TOTHEBUYER.1. Donot signthis agreementbeforeyou
                                                                                               readit or if it containsanyblankspaces.2. Youareentitledto
   ThisContractcontainsanArbitrationProvisionthat affectsyour rights, Bysigning
   thisCon1racl,
               youagreethateitherof us mayrequestandrequiretheotherto resolve
                                                                                               an exactcopyof the agreementyou sign.3. Underthe lawyou
   disputes
          or claims1hrough          insteadof a lawsuit.TheArbilralionProvision
                          arbitrolion                                                          havethe right,amongothers,to pay in advancethe full amount
   includes
          a processyoucanfollowin thenex130 daysif youreconsider   andwantto reject            dueandto obtainundercertainconditionsa partialrefundof the
   lheArbitration
                Provision.                                                                     financecharge.
   By initialingthis section,you confirmthat you read,understandand agreeto the
   ArbitrationProvisionIn this Contract,includingthe processto rejectit.                       By signingbelow,you agreeto the termsof this Contract,You
                                                                                               receiveda copyof this Contractand hada chanceto readand
                     ~o
   Buyerinitials:-+~_,_~.,._-'I!:!>-
                                                                                               reviewit beforeyou signedit.
                                                                                               RETAILINSTALLMENT
                                                                                                              CONTRACT
    Acknowledgmentfor Electronic Signatures
   [,a ElectronicSignatureAcknowledgment.        Youagreethat(i) youviewedandreadthis
   entireContract  beforesigningit, (ii)yousignedthisContractwithoneor moreelectronic
   signatures,{iii)youintendlo enterintothisContractandyourelectronic   signaturehaslhe                                                                     01/02/2021
   sameeffectasyourwritteninksignature,     (iv)youreceiveda papercopyof thisContrac1                                                                         Date
   afterit wassigned,and(v) theauthoritative  copyof thisContractshallresidein a
                                                                                               By:LISA M SIMONS
   document  management   systemheldby Sellerin theordinarycourseof business.    You
   undersland thatSellermaytransferthisContract    to anothercompany in theelectronicform
   or as a paperversionof thatelectronic  formwhichwouldthenbecome!heauthorila~ve
   copy,Selleror thatothercompany      mayenforcethisContractin theelectronicformor as a
                                                                                                                                                            01/02/2021
                                                                                               By:                                                            Date
   paperversionof thatelectronic  form.Youmayenforcethepaperversionof theContract
   copythatyoureceived.

    SignatureNotices                                                                                                                 N/A
   TheAnnualPercentage   Ratemaybe negotiablewiththe                                           By:                                                            Date

   Seller.TheSellermayassignthis Contractandretainits right
   to receivea partof theFinanceCharge.
                                                                                               Seller
    Signatures
    EntireAgreement.
    arenounwritten
                      Yourandourentireagreement
                    agreements
                             regarding
    be in writingandsignedbyyouandus.
                                               is contained
                                      thisContract.
                                                          in thisContract.
                                                                        There
                                                  Anychange1othisContractmust
                                                                                               ~:Ef.09
                                                                                               By:Chicago Car Center Inc.
                                                                                                                                                            01/02/2021
                                                                                                                                                              Date

                                                                                                Guarantor.A guarantoris a personwhomaybe res1X1nsible
                                                                                                                                                  forpayingtheentiredebt
                                                                                                if wecannotcollecttheamountowedfromthebuyeror anyco-buyer.
                                                                                  01/02/2021    GuarantorSignature:
       Y   CfS"X''ief'srf:;ioNS                                                       Date

                                                                                                                                                           01/02/2021
                                                                                                                                                             Date
                                                                                  01/02/2021
     By:                                                                              Date      Address:


                                                                                                I herebyguarantee thecollectionof theabovedescribed amountuponfailureof the
                                                                                                sellernamedhereinlo collectsaidamountfromthebuyernamedherein.I alsoconsent
                                                                                                to thecreditorhavinga securityinterestin theVehicle
     By:                                                                              Date

   CO-BUYER.
          Aco-buyer
                  is a personwtioagreesto be primarily
                                                     responsible
                                                              for paying1he                     Assignment.ThisConlractandSecurityAgreement
                                                                                                                                         is assigned
                                                                                                                                                   to
   entiredebtandwho(1)actuallyreceives theVehicleor (2)is a parentor spouseof the               Turner Acceptance Corp.                    4454 N Western Ave.
   Buyeror (3) willbelis1edasanowneron theVehicle'sliUe.Bysigningbelow,youconfirm                Chicago, IL 60625
   thatyouwillactuallyreceivepossession
                                      of theVehicleor willuseit or !hatyouarea
   parentor spouseof theBuyeror thatyouwillbelistedasan ownerontheVehicle's    title,                     phone (773)
                                                                                                theAssignee,                  539-8900         ,Thisassignmen1
                                                                                                                                                            is made
   you_agree to beprimarilyobligated
                                   underthisContract
                                                   andyouconsentto theSellerhaving              underthetermsof a separateagreementmadebetweentheSellerandAssignee
   a security
            interestin theVehicle,                                                              D ThisAssignment  is madewithrecourse

             ThisInstrument !s pledged as collateral                                             Seller
         to CIBCBankUSt,, a,; Administrative
                                           Agent

                                                                                                                                                           01/02/2021
                                [Thisareaintentionally
                                                    leftblank.]                                                                                              Date
                                                                                                 By:Chicago Car Center Inc.



                                                                                                                                              DS
   Retail lnstallmenl Contract-IL Not lor use in transactions secured by a dwelling                                                                     RSSIMVLFAZIL 111/2020
   C20"iOThe Roinolda and Reynold• Company                                                                                                                   Bankers Systems®
   THERE ARE NO WARRANTIES. EXPRESS OR IMPLIED. AS TO CONTENT OR FITNESS FOR PURPOSE OF THIS FOAM. CONSULT YOUR OWN LEGAL COUNSEL.                                   Page7ot7
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                                                                                                                                  RIC101609

  _Cic_er_o
   City
        __          lL _01_102_120_21
                State
                                   __
                           Date of Execution
                                                     WAGE ASSIGNMENT
   To Chicago Car Center Inc.
   Seller (Assignee)
    Amount of money loaned (Amount Financed)         $ 25,263.05        ; Rate of Interest (Annual Percentage Rate): 24.99
    Equal payments in the amount of     $ 385.29               are due beginning 01/16/2021
                                                                                                                             ------
                                                                                                         . Upon default in the payment
   of any said installments, then all unpaid installments shall, at the Assignee's option. become immediately due and payable
   without n·ouceor demand.
            As security for the above-described debt each of the undersigned hereby assigns, transfers and sets over to the above-
   named assignee, wages, salary, commissions, bonuses subsequently earned or to become due from his present employer for a
   period of three (3) years from the date hereof and from any future employer within a period of two (2) years from the date of
   execution hereof. Any undersigned Debtor may revoke his assignment of wages at will by written notification to the
   holder. This assignment shall remain effective as to all of the undersigned Debtor(s) not electing to revoke their assignment.
            The amount that may be collected by assignee hereon shall not exceed the lesser of ( 1) 15% of the gross amount paid
   assignor br that week, or (2) the amount by which disposable earnings for a week exceed 45 times the Federal Minimum Hourly
   Wage prescribed by Section 206 (a) (1) of Title 29, U.S.C, or the minimum hourly wage prescribed by Section 4 of the Minimum
   Wage Law, whichever is greater, in effect at the time the amounts are payable; and shall be collected until the total amount due
   under this assignment is paid or until expiration of employees payroll period ending immediately prior to 84 days after service of
   the demand hereon, whichever first occurs. This Wage Assignment shall be valid for a period of three years from date hereof .
          . The term "disposable earnings• means that part of the earnings remaining after deduction of any amounts required by
   law to be withheld.
            The assignor(s) hereby authorize, empower and direct his/their said employers(s) to pay to assignee any and all moneys
   due or to become due assignee(s) hereon, authorize assignee to receipt for the same and release and discharge employer from
   all liability to assignor(s) on account of moneys paid in accordance herewith. No copy hereof shall be served on employer(s)
   except in conformity with applicable law.

   Each assignor acknowledges receipt of an exact copy of this wage assignment.




                                                      WAGE ASSIGNMENT

                                                                                                               Assignor/ Wage-earner
                                                                                                         LISA M SIMONS

                Present Employer                                 Social Security Number                        Assignor/ Wage-earner



                PresentEmployer                                  Social Security Number                        Assignor/ Wage-earner
FOR VALUE RECEIVED,             Undersigned         does
hereby sell, assign,             transfer,         and set       over     to
          Turner Acceptance Corp.
Its   successors     or assigns,      all    right,     title, and interest                     in       and    to     the    within   Wage
Assignment       and warrants    that     said Wage Assignment
was completely       filled   in, signed        by the wage earner      and                  an exact           copy
thereof      ~lt~~~ed to each signer            thereof

SELLER
By: --~A~LE~J~A:i..::N~D~RA:!.:l.=ZA~VA~LA::!..!...
                             __________________                                                      _
